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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN



JOHN HOBON, individually and on behalf of
all others similarly situated,

                                      Plaintiffs,                        17-cv-947-slc
       v.

PIZZA HUT OF SOUTHERN WISCONSIN, INC.,
d/b/a PIZZA HUT, et al.,

                                      Defendants.




       This is a putative collective and class action for damages alleging violations of the Fair

Labor Standards Act, 29 U.S.C. §§ 201-219, and Wisconsin and Illinois wage and hour laws.

Before the court are two motions by defendants: (1) a motion under Fed. R. Civ. P. 12(b)(3)

and the Federal Arbitration Act, 9 U.S.C. § 1, et seq., to compel plaintiffs who signed arbitration

agreements to arbitrate their individual claims; and (2) a motion brought under Fed. R. Civ. P.

12(f) and 23 for an order striking the collective and class allegations contained in the Third

Amended Complaint. Dkt. 36. For the reasons set forth below, the motion to compel will be

granted and the motion to strike will be stayed to allow plaintiffs an opportunity to file an

amended complaint that redefines the proposed class.




                                            OPINION

I. Motion to Compel

       Plaintiff John Hobon brings this collective and class action for damages on behalf of

himself and all other similarly situated current and former employees who work or have worked

as delivery drivers at Pizza Hut of Southern Wisconsin, Inc., d/b/a Pizza Hut, or of its Wisconsin

and Illinois affiliates (collectively, “PHSW”) since December 20, 2014. Hobon alleges that
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PHSW subjected its delivery drivers to a vehicle reimbursement policy that failed to reasonably

approximate their actual expenses, in violation of the Fair Labor Standards Act, 29 U.S.C. §§

201-219, and Wisconsin and Illinois wage and hour laws. The complaint was filed on December

20, 2017. Dkt. 1. On May 21, 2018, the Supreme Court issued its decision in Epic Systems

Corp. v. Lewis, 138 S. Ct. 1612 (2018), holding that arbitration agreements must be enforced as

written and are not unenforceable merely because they prohibit employees from engaging in a

collective or class action. As it turns out, three of the eight plaintiffs who have opted in to this

suit so far and about 65 percent of the entire putative class executed such arbitration agreements

with PHSW.1

        In reliance on Epic Systems, on June 21, 2018, PHSW filed the instant motion to compel

these opt-in plaintiffs to arbitrate their claims on an individual basis and for an order striking

the class allegations contained in the Third Amended Complaint. Dkt. 36. Plaintiffs concede

that they have agreements with PHSW to arbitrate employment disputes on an individual basis

and that these agreements are now enforceable under Epic Systems, but say PHSW waived its

right to arbitrate by willingly participating in this litigation on a collective basis. Plaintiffs say

that by participating in pretrial conferences, allowing the court to set a schedule and engaging

in discovery without mentioning arbitration or asking the court to stay the case pending a

decision from the Supreme Court in Epic Systems, PHSW has indicated an intent to proceed in

a judicial forum that is inconsistent with a right to arbitrate.




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          These three opt-in plaintiffs— Chase Putnam, Peter Shep and Logan M cHone— filed their Notices
of Consent to join the lawsuit on April 9, April 25 and M ay 2, 2018, respectively. Dkts. 27-29. The
arbitration agreements that they executed with PHSW required them to arbitrate “any claims . . .
concerning wages, expense reimbursements [and] compensation”.

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       It is true that, like any other contractual right, the right to arbitrate may be waived.

Welborn Clinic v. MedQuist, Inc., 301 F.3d 632, 637 (7th Cir. 2002). Courts will find that a party

implicitly waived its right to arbitrate when “based on all the circumstances, the party against

whom the waiver is to be enforced has acted inconsistently with the right to arbitrate.” Id.

(citing Grumhaus v. Comerica Sec., Inc. 223 F.3d 648, 650 (7th Cir. 2000)). See also Kawasaki

Heavy Indus., Ltd. v. Bombardier Recreational Prod., Inc., 660 F.3d 988, 994 (7th Cir. 2011).

Factors the courts consider are whether the party attempting to invoke its right to arbitrate acted

diligently in doing so, the extent to which it participated in litigation, the timing of its assertion

of its right to arbitrate and the degree of prejudice that would be suffered by the opposing party.

Kawasaki, 660 F.3d at 994; St. Mary's Med. Ctr. of Evansville, Inc. v. Disco Aluminum Prods. Co.,

Inc., 969 F.2d 585, 587 (7th Cir. 1992).

       The circumstances of this case do not support a finding that PHSW engaged in conduct

inconsistent with its right to arbitrate. First, PHSW raised the possibility of arbitration in its

answer and affirmative defenses, which included the following:

               Plaintiff is precluded from proceeding in a judicial forum because,
               upon information and belief, Plaintiff agreed to arbitrate the
               claims included in the Complaint. The agreement by the parties
               to arbitrate their disputes is specifically enforceable pursuant to
               the Federal Arbitration Act, 9 U.S.C. Section 1 et. seq. This action
               is due to be stayed on the ground that Plaintiff agreed to arbitrate
               the dispute contained in this lawsuit and a decision is expected
               from the United States Supreme Court in Epic Systems Corp. v.
               Lewis, Case No. 16-285, addressing whether an agreement that
               requires an employer and an employee to resolve employment-
               related disputes through individual arbitration, and waive class and
               collective proceedings, is enforceable under the Federal Arbitration
               Act, notwithstanding the provisions of the National Labor
               Relations Act.

       Answer, dkt. 15, at 20, ¶ 13.

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Thus, PHSW asserted at the earliest opportunity its position that plaintiff’s claims might be

arbitrable.

       Second, until the Supreme Court issued its ruling in Epic Systems, PHSW had no “right”

of arbitration to assert. The Seventh Circuit had held that arbitration agreements like those at

issue in this case that forbade collective arbitration or collective action in any other forum were

in violation of the National Labor Relations Act and unenforceable. Lewis v. Epic Systems Corp.,

823 F.3d 1147, 1151 (7th Cir. 2016), rev’d, 138 S. Ct. 1612 (2018). Thus, from the time this

suit was filed in late December 2017 until the Supreme Court reversed the Seventh Circuit on

May 21, 2018, it would have been futile for PHSW to have moved to compel arbitration for any

class members with arbitration agreements. Circuit courts that have considered this question

agree that failing to engage in a futile gesture is not inconsistent with a right to arbitrate. Accord

Chassen v. Fidelity Nat’l Fin., Inc., 836 F.3d 291, 297 (3rd Cir. 2016) (defendant’s participation

in litigation for two and a half years without seeking to compel arbitration did not amount to

waiver where any attempt to compel arbitration would have been futile until Supreme Court

decided AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 131 (2011)); Ackerberg v. Johnson, 892

F.2d 1328, 1333 (8th Cir. 1989)(“ To find that the PJH defendants waived a right they did not

have until after Rodriguez De Quijas is not only illogical, but also would encourage litigants, in

order to avoid a finding of waiver, to file motions they knew to be futile.”); Peterson v.

Shearson/Am. Exp., Inc., 849 F.2d 464, 466 (10th Cir. 1988) (“There was no requirement that

Shearson make a futile attempt to obtain arbitration on the federal claim given the state of the

law; indeed, it would be difficult to argue that such an attempt had a basis in existing law.”);

Fisher v. A.G. Becker Paribas Inc., 791 F.2d 691, 697 (9th Cir. 1986) (“Until the Supreme Court's



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decision in Byrd, the arbitration agreement in this case was unenforceable. Therefore, the Fishers

have failed to demonstrate that Becker acted inconsistently with a known existing right to

compel arbitration.”); Miller v. Drexel Burnham Lambert, Inc., 791 F.2d 850, 854 (11th Cir. 1986),

abrogated on other grounds by Gulfstream Aerospace Corp. v. Mayacamas Corp., 485 U.S. 271 (1988))

(“This circuit does not require a litigant to engage in futile gestures merely to avoid a claim of

waiver. Thus, appellees' failure to request arbitration prior to the Byrd decision is irrelevant to

the issue of waiver.”). There is no reason to believe the Seventh Circuit would rule otherwise.

See Cabinetree of Wisconsin, Inc. v. Kraftmaid Cabinetry, Inc., 50 F.3d 388, 391 (7th Cir. 1995)

(noting that “abnormal” situations might arise to relieve a party of its waiver, such as

“unexpected developments during discovery”).

       Third, the fact that PHSW participated in scheduling conferences and discovery without

mentioning arbitration or demanding a stay pending a decision in Epic Systems does not suggest

that it abandoned its wish to arbitrate. Plaintiff cites no case holding that a party must assert

its desire to arbitrate “at every turn” in order to avoid a finding of waiver, particularly where the

party raised the possibility of arbitration in its affirmative defenses and the case is in its early

stages. Even so, here there were good reasons—consistent with a desire to arbitrate—why

PHSW did not seek a stay. For one thing, until Chase Putnam filed his consent to join the suit

on April 9, 2018, there was no named plaintiff who had an arbitration agreement, so until then

requesting a stay would have been futile.

       More significant, however, is the fact that there is a significant sub-class of delivery

drivers who do not have arbitration agreements with PHSW. Indeed, according to plaintiff,

“there is a readily identifiable class of 502 delivery drivers who did not sign an arbitration



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agreement,” Br. in Opp., dkt. 39, at 23. PHSW concedes that litigation in this judicial forum

may proceed with respect to these plaintiffs. Reply Br., dkt. 41, at 18. Thus, given the existence

of a large sub-class that would be unaffected by the outcome in Epic Systems, it is hardly

surprising that PHSW did not ask the case to be put on hold until the Supreme Court issued its

decision.

       Finally, plaintiff has not been prejudiced by PHSW’s delay in moving to compel

arbitration. As plaintiff concedes, PHSW notified counsel the day after Epic Systems was decided

that PHSW would not stipulate to conditional class certification and instead would be seeking

to compel arbitration. This was only five months after suit was filed, which is not a lengthy time

period in a case of this nature. No dispositive motions have been filed, motions to certify the

class are not due until December 7, 2018 and trial is not until November 4, 2019, more than

one year away. Finally, the resources spent by plaintiff in responding to discovery requests were

not wasted, given that this case is likely to proceed in this court with the smaller class of delivery

drivers who did not sign arbitration agreements.

       In sum, having considered the totality of the circumstances, I find that PHSW’s conduct

in this case does not support a finding of waiver.




II. Motion to Strike Class Allegations

       In response to PHSW’s motion to strike, plaintiff asserts that there remains a readily

identifiable class of 502 delivery drivers who did not sign an arbitration agreement. Therefore,

plaintiff asks that, in lieu of this court striking the class allegations in their entirety, he be

allowed seven days to amend his complaint to narrow the defined class to those drivers for whom



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PHSW cannot produce a signed arbitration agreement. PHSW does not object to this request,

but reserves its right to both contest the anticipated motions for conditional class certification

and Fed. R. Civ. P. 23 certification in the event the court allows plaintiff to amend. Reply Br.,

dkt. 41, at 19. Accordingly, not later than October 10, 2018, plaintiff should file an amended

complaint which redefines the class to include only those PHSW delivery drivers who did not

sign arbitration agreements with PHSW. The parties are advised to confer on the wording of

the amended complaint to avoid further delays in this case.




III. Confidentiality Provision

       As a final matter, plaintiff asks the court (in the event it does not find waiver) to strike

the arbitration agreements’ confidentiality provision, which provides that the parties agree to

submit their disputes to “confidential binding arbitration, instead of going to court.” See Dec.

of Jim Williams, dkt. 38, Exhs. 1-4. Plaintiff argues that this confidentiality requirement should

be stricken because it frustrates the “modicum of bilaterality” required to avoid a finding of

unconscionability. Br. in Opp., dkt. 39, at 21. However, apart from extracting quotes from

various courts that have been critical of confidentiality provisions, plaintiff does not develop any

specific facts or even suggest what state’s law should control in deciding the question of

unconscionability, which is a common law contract defense governed by state law principles.

See, e.g., AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 343 (2011) (lower court found

contract unconscionable under California law); Perry v. Thomas, 482 U.S. 483, 492, 107 S. Ct.

2520, 2527, 96 L. Ed. 2d 426 (1987) (“[S]tate law, whether of legislative or judicial origin, is

applicable [to arbitration agreements] if that law arose to govern issues concerning the validity,



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revocability, and enforceability of contracts generally.”). Further, it is not clear that the alleged

unfairness of the confidentiality provision is an appropriate subject for this court, rather than

the arbitrator. Absent more than general arguments from plaintiff as to why confidentiality

provisions are disfavored, I decline to strike the confidentiality provision.




                                             ORDER

        IT IS ORDERED THAT:

   1.    Defendants’ consolidated motion to compel those plaintiffs with agreements to
        arbitrate with PHSW to arbitrate their individual claims pursuant to the Federal
        Arbitration Act, 9 U.S.C. § 1, et seq. is GRANTED.

  2.    Defendants’ motion to strike the collective and class allegations contained in the
        Third Amended Complaint is STAYED.

  3.    Not later than October 10, 2018, plaintiff shall file a Fourth Amended complaint,
        redefining the class to include only those PHSW delivery drivers who did not sign
        arbitration agreements with PHSW.

  4.    In the event plaintiff files an amended complaint as ordered, defendants’ motion
        to strike the collective and class allegations contained in the Third Amended
        Complaint will be DENIED as moot.

   5. Plaintiff’s request for an order striking the confidentiality provision of the
      Agreement to Arbitrate is DENIED.


        Entered this 2nd day of October, 2018.

                                                      BY THE COURT:

                                                      /s/
                                                      STEPHEN L. CROCKER
                                                      Magistrate Judge




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